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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                             :
                                                                       :     04 CR 203 (ARR)
                                                                       :
          -vs.-                                                        :     NOT FOR
                                                                       :     ELECTRONIC OR PRINT
 LINDSEY MCDONNELL, DUPREE HARRIS, and                                 :     PUBLICATION
 WILLIAM COBB,                                                         :
                                                                       :     OPINION AND ORDER
                                     Defendants.                       :
                                                                       :
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 ROSS, United States District Judge:

         The government in this criminal prosecution has moved to empanel an anonymous and

 partially sequestered jury. Specifically, the government requests that (1) “the names, addresses

 and workplaces of members of both the venire and petit juries not be revealed”; and (2) “the

 jurors eat lunch together and be accompanied in and out of the courthouse by members of the

 United States Marshal Service each day so that they do not mingle in the courthouse with the

 public and any potential trial spectators.” Gov’t Mem. of Law at 2. The government argues that

 an anonymous and partially-sequestered jury would neither deprive defendants of meaningful

 jury selection nor diminish their presumption of innocence and is necessitated by several factors,

 including: (1) defendants face lengthy prison terms if convicted; (2) defendants Harris and Cobb,

 and their associates, have a history of interfering with the judicial process; (3) defendants Harris

 and Cobb are dangerous individuals; (4) defendants have the means to interfere with the jury;

 and (5) the trial is likely to attract significant media interest. See id. at 4-12.

         Defendants oppose the motion, arguing that empaneling an anonymous jury would

 deprive them of their rights under the Fifth and Sixth Amendments. Although they concede that


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 the law permits the court to select an anonymous jury in appropriate cases, defendants contend

 that this is not such a case. Specifically, they contend that (1) the government’s allegations of

 interference with the judicial system are unsupported; (2) Dupree Harris has no gang affiliation

 and, therefore, does not have the means to interfere with the jury; and (3) the case is not expected

 to garner the extensive amount of media attention suggested by the government. See id.

        For the reasons stated below the government’s motion is granted.

                                           DISCUSSION

        An anonymous jury is appropriate only where (1) there is strong reason to believe that a

 jury needs protection, and (2) reasonable precautions are taken to minimize any prejudicial

 effects on a defendant’s ability to maintain the presumption of innocence and conduct

 meaningful voir dire. See U.S. v. Amuso, 21 F.3d 1251, 1264 (2d. Cir. 1994); U.S. v. Paccione,

 949 F.2d 1183, 1192 (2d Cir. 1991); U.S. v. Vario, 943 F.2d 236, 239 (2d. Cir. 1991); U.S. v.

 Tutino, 883 F.2d 1125, 1132 (2d Cir. 1989). Within these parameters, the decision to empanel an

 anonymous jury is within the discretion of the district court. See Paccione, 949 F.2d at 1192;

 U.S. v. Maldano-Rivera, 922 F.2d 934, 971 (2d Cir. 1990). If the standard is met, no

 constitutional concerns arise. See U.S. v. Thomas, 757 F.2d 1359, 1364 (2d Cir. 1985).

        Courts in this Circuit have identified a number of factors that are appropriately

 considered in determining whether to empanel an anonymous jury or sequester the jury in any

 respect. These include (1) the seriousness of the charges; (2) the dangerousness of the

 defendants; (3) the defendant’s ability to interfere with the judicial process by himself or through

 his associates; (4) previous attempts by the defendant or his associates to interfere with the

 judicial process; and (5) the amount of media attention and public scrutiny expected during the


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 trial that might expose the jurors to external pressures that could impair their ability to be fair.

 United States v. Locascio, 357 F.Supp.2d 558, 560 (E.D.N.Y. 2005) (outlining these five

 factors); see, e.g., Vario, 943 F.2d at 241 (history of witness tampering); Maldano-Rivera, 922

 F.2d at 971 (dangerousness of defendant); Tutino, 883 F.2d at 1132 (media pressures on jurors);

 United States v. Thomas, 757 F.2d 1359 (2d Cir. 1985) (history of juror tampering and

 association with group possessing means to harm jurors). A review of the circumstances of this

 case indicates that they warrant granting the government’s motion for an anonymous and

 partially-sequestered jury.

        In the instant case, the most compelling factor justifying an anonymous jury is defendant

 Dupree Harris’s demonstrated willingness to “tamper . . . with the judicial process.” Vario, 943

 F.2d at 239. This factor has been described as “crucial” to the determination to empanel an

 anonymous jury. Id. at 239.

        Harris was charged with threatening and bribing three witnesses expected to testify

 against his half-brother, Wesley Sykes, in Sykes’ 2002 murder trial. See Benson Aff. ¶ 3. At

 Sykes’ trial, Latisha Smith and Naia Hardison each unequivocally testified that they were

 approached by associates of Dupree Harris prior to Sykes’ trial and told they had the choice of

 refusing to testify in return for money, or being killed. See Benson Aff. ¶ 6; see People v.

 Wesley Sykes, Trial Transcript at 405-428 (testimony of Latisha Smith), 602-612 (testimony of

 Naia Hardison). Harris subsequently escorted them to the office of Sykes’ attorney, directed

 them to give a tape-recorded statement exculpating Sykes, and paid them $500. Id. Both

 witnesses testified that they took the money offered by Harris because they worried that if they




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 did not, Harris would kill them. Id. at 420, 613. Harris was convicted on August 6, 2004, of

 three counts of bribing witnesses.1

        There is also evidence before the court that Harris intended to tamper with the judicial

 process in 1992. See Bolinder Aff. ¶ 5. The government has offered evidence in camera and ex

 parte that during an attempted robbery by Harris and an accomplice, the accomplice shot and

 killed one of the intended robbery victims. See Bolinder Aff. ¶ 5; Ex Parte Aff. ¶¶ 4,5 . Harris’s

 accomplice, who had been arrested and charged with the murder, obtained the name, address,

 and telephone number of an eyewitness. See Bolinder Aff. ¶ 5; Ex Parte Aff. ¶ 6. Harris agreed

 to murder that witness, but he was arrested and incarcerated in 1993 for an unrelated murder

 before doing so. See Bolinder Aff. ¶ 5; Ex Parte Aff. ¶ 7 .

        In connection with a 1999 murder indictment against Harris, the government has made a

 showing that a prosecution witness poised to testify against Harris received a telephone call

 warning her that if she testified she would be killed. See Benson Aff. ¶¶ 7,8. The following

 day, the witness identified a member of the audience as the shooter, notwithstanding her prior

 identification of Harris. See Benson Affirmation ¶ 8. Harris was subsequently acquitted.

        Finally, the government has proffered evidence indicating attempts by Harris to obstruct

 justice in the instant action. Based on Harris’s history, the Bureau of Prisons has implemented



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          In her submission, Harris’s counsel introduced statements purported to have been made
 by witnesses at some time during Harris’s witness tampering trial. Counsel does not supply the
 transcript of such testimony, however, and there is no way for the court to know the context of
 such statements. Moreover, the government has proffered evidence that Harris sought to
 intimidate or bribe witnesses directly before his witness tampering trial commenced.
 See Benson Aff. ¶¶ 10-12. Accordingly, and in light of the unequivocal statements by the
 witnesses during the Sykes trial indicating that Harris had bribed them, the court finds sufficient
 reason to believe that Harris has tampered with the judicial system.

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 Special Administrative Measures (“SAMs”). As a result, all of Harris’s conversations with

 visitors and his telephone conversations are monitored, his mail is reviewed, and his contact with

 other prisoners is limited. Notwithstanding these extreme measures, the government has

 proffered evidence that Harris has been circumventing the SAM restrictions to smuggle mail to

 other inmates for dissemination outside the detention center. See Bolinder Aff. ¶ 8; Ex Parte

 Aff. ¶¶ 11, 12, and Exs. D, E.

         The government has made a strong showing that defendant Harris has a demonstrated

 history of witness tampering and the court sees reason to believe he is poised to continue such

 activities. His status as a member, or perhaps leader, of the Bloods gang is further indicative of

 Harris’s ability to interfere with the judicial process even though he is presently incarcerated.

 See Thomas, 757 F.2d at 1365 (evidence of defendant’ past attempts to interfere with the judicial

 process coupled with allegations that defendants were part of a group that possessed the means

 to harm jurors sufficient to warrant anonymous jury). Notwithstanding Harris’s denial of

 involvement with the Bloods, the government has made a sufficient in camera showing that

 Harris was at least a member of that gang.2 See Ex Parte Aff. ¶ 12,n.7, Exs. E, F.

         As the Second Circuit has noted, such “a demonstrable history or likelihood of

 obstruction of justice on the part of the defendant or others acting on his behalf . . . [is] sufficient

 in and of itself in an appropriate case to warrant an anonymous jury . . . .” Vario, 943 F.2d at

 241. See also Tutino, 883 F.2d at 1133 (defendant’s past efforts to tamper with a jury a

 contributing factor in anonymous jury determination).


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         The court notes that although Harris, though counsel, alleges the existence of evidence
 exculpating him from gang membership, he has provided none to the court. See Def. Opp. Mot.
 Anon. Jury at 7.

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        Finally, an anonymous jury is further warranted by the media attention likely to be

 attracted by the case. Prior proceedings involving Dupree Harris, including the Sykes trial, have

 received extensive media attention. The media has also covered the instant indictment and

 continues to inquire about the matter. The likelihood for significant media attention, and the

 resulting risk of outside influence on the jury, lends further support to the propriety of an

 anonymous jury.

        In determining whether to empanel an anonymous jury, the court must balance the noted

 considerations against any prejudice to the defendants’ right to a fair trial. See, e.g., U.S. v. Thai,

 29 F.3d 785, 801 (2d Cir. 1994); United States v. Barnes, 604 F.2d 121, 141 (1979). In

 particular, the court must ensure that empaneling an anonymous and partially-sequestered jury

 does not impair the defendants’ right to the presumption of innocence or prevent meaningful jury

 voir dire. See, e.g., Tutino, 883 F.2d at 1133. As an initial matter, the court notes that

 withholding the names, addresses, and places of employment of prospective jurors will not in

 any way deprive defendants of meaningful voir dire.3 On the contrary, the defendants’ attorneys



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         Although counsel for defendants Cobb and McDonnell considered moving for
 severance, they ultimately chose not to do so. This is unsurprising, as the Second Circuit case
 law clearly establishes that would not be entitled to severance. The Second Circuit has
 explained that where one co-defendant warrants an anonymous jury, the due process rights of
 other co-defendants are not violated by its impanelment, even where no evidence links them to
 any activity justifying such precautions. United States v. Aulicino, 44 F.3d 1102, 1117 (2d Cir.
 1995). Because Harris’s history of witness tampering compels the use of an anonymous jury,
 Harris’s co-defendants are not entitled to severance.
        In any event, with respect to William Cobb, although it is unnecessary due to the strong
 evidence against Harris compelling use of an anonymous jury, the court notes that the
 government made a separate proffer relating to Cobb’s recent attempt to tamper with a witness
 during the pendency of proceedings in the Northern District of New York in which he eventually
 pled guilty to the substantive acts underlying the conspiracy charged in the instant indictment.
 See Bolinder Aff. ¶ 9.

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 will have the opportunity to contribute to the drafting of a jury questionnaire that will provide

 counsel with extensive information on each prospective juror’s background and potential biases,

 enabling full assessment of a juror’s suitability. See Thai, 29 F.3d at 801. Moreover, the court

 will consult with counsel before questioning potential jurors individually to ensure that counsel

 possess all necessary information in determining how to exercise their challenges. See Tutino,

 883 F.2d at 1133 (approving Judge Leval’s conducting extensive voir dire despite withholding

 from the parties and their attorneys potential jurors’ names, addresses, or places of employment).

        Finally, the court will, of course, provide jurors with a neutral explanation, acceptable to

 the parties, to ensure that the jurors draw no negative inference against the defendants due to the

 jurors’ anonymous and partially-sequestered status. Counsel for the defendants and the

 government are requested to seek to reach agreement on the language of such an explanation,

 and to include their recommendation on this matter as part of the introduction to their proposed

 jury questionnaire.

        For the reasons stated above, the court grants the government’s motion for an anonymous

 and partially-sequestered jury.

        SO ORDERED.



                                                        Allyne R. Ross
                                                        United States District Judge

 Dated: July 1, 2005
        Brooklyn, New York




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